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                               UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF KENTUCKY
                                     OWENSBORO DIVISION

     In re:                                                     Case No. 19-40608
     Burlington Civil, Inc.,                                    Chapter 7
              Debtor.
                                                                Hon. Thomas H. Fulton

             ORDER APPROVING JOINT EXPEDITED JOINT EXPEDITED
         MOTION FOR RELIEF FROM AUTOMATIC STAY AND ABANDONMENT

           Upon the motion (the “Motion”) of the chapter 7 trustee (the “Trustee”) and Great

American Insurance Company (“Great American”) for relief from stay to authorize the Trustee’s

rejection of the Project Contracts1 and related relief, and it appearing that this Court has jurisdiction

to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and

adequate notice of this Motion and the hearing therein has been given; and sufficient cause

appearing therefor; it is

           1.       ORDERED, that the Motion is hereby granted; and it is further

           2.       ORDERED, that the Project Contracts are hereby abandoned pursuant 11 U.S.C. §

554; and it is further

           3.       ORDERED, that the automatic stay imposed in this case pursuant to 11 U.S.C. §

362(a) be and is hereby modified to permit Great American to facilitate completion of the Projects;

and it is further

           4.       ORDERED, that, pursuant to Great American’s equitable subrogation rights, Great

American is permitted and authorized to collect and use the Project Proceeds for completion of the

Projects and to exercise any and all setoff rights of the Owners; and it is further




1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.
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       5.      ORDERED, that this Order shall be immediately effective and the provisions of

Rule 4001(d)(1)-(3) of the Federal Rules of Bankruptcy Procedure shall not apply as the terms of

this Order are sufficient to afford reasonable notice of the material provisions of this Order and

opportunity for a hearing; and it is finally

       6.      ORDERED, that this Court shall retain jurisdiction with respect to all matters

arising from or related to the implementation of this Order.




                                                  Dated: August 14, 2019




AGREED:


/s/ Harry L. Mathison
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Chapter 7 Trustee

/s/ Edward M. King
Edward M. King
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